        Case: 22-35913, 02/13/2023,
Case 1:20-cv-03241-TOR              ID: 12652285,
                          ECF No. 154              DktEntry:
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                    UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                         FEB 13 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
RAMON TORRES HERNANDEZ;                         No.   22-35913
FAMILIAS UNIDAS POR LA JUSTICIA,
AFL-CIO, a labor organization,                  D.C. No. 1:20-cv-03241-TOR
                                                Eastern District of Washington,
                Plaintiffs-Appellants,          Yakima

 v.                                             ORDER

MARTIN J. WALSH, in his official capacity
as United States Secretary of Labor; et al.,

                Defendants-Appellees.

      This case shall continue to be held in abeyance. The Clerk is directed to

temporarily close this court’s docket for administrative purposes until April 14,

2023. This administrative closure is not a decision on the merits and no mandate

will issue in connection with this order.

      At any time, any party may request that this appeal be reopened.

      A dial-in telephone conference will be held on April 12, 2023, at 11:00 a.m.

Pacific Time. Each participant will receive an email with dial-in information.


                                             FOR THE COURT:


                                             By: Roxane G. Ashe
                                             Circuit Mediator
